Case 2:05-cr-20181-SH|\/| Document 7 Filed 06/08/05 Page 1 of 2 Page|D 7

 

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TENNESSEE §§ bf[}§; -3 Pf~'£ _'_>,: 59
Western Division

-‘J §'f§. ;',}l TECL,EG

‘, u.s. o!s'r. o'r.

C-§: ?T~l, i\."'LE-Il-J|FE~ESS

  
 

  

UNITED STATES OF AMERICA

-vs- Case No. 2:05cr20181-Ma

VERLES MORRIS

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of oounsel. Aceordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
' The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
55

DONE and ORDERED in 167 North Main, Memphis, this ay of J une, 2005.

      

 

TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Off'lce

Assistant Federal Public Defender
Intake

VERLES MORRIS

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with Flule 55 and/or 32{b} FFlGrP on [;Z [ § §

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-20181 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

PDA

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Ste. 200

l\/lemphis7 TN 38103

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

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Honorable Samuel Mays
US DISTRICT COURT

